 

Case 6:16-cv-06607-C.]S-.]WF Document 10 Filed 10/26/16 Page 1 of 1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

CH]LI EXPRESS, INC.,

Plaintiff, STIPULATION OF VOLUNTARY
DISMISSAL PURSUANT TO
-against- F.R.C.P. 41(21)(1)(A)(ii)
ATLANTIC CASUALTY INSURANCE CO.j Case No.: 16-6607
Defendant.

 

IT IS HEREBY STIPULATED AND AGREED, by and between undersigned counsel for
all parties, that;
l. Atlantic Casualty Insurance Company (“Atlantic Casualty”) effectively rescinded

the Atlantic Casualty policies at issue, i.e. policy numbers M035001186 and

M035001467, ab initio, and therefore this action is no longer necessary,

2. In light of the above, all claims herein are dismissed With prejudiced as against all
parties
3. Electronically transmitted signatures shall be deemed originals for all purposes

 
 
   

Finger La ‘ Keidel, Weldon & Cunningham, LLP

 

By; /\ Byi MMM
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